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 1   Mark R. Vermeulen [CSBN 115381]
     Law Office of Mark R. Vermeulen
 2
     755 Florida Street #4
 3   San Francisco, CA 94110.2044
     Phone: 415.824.7533
 4
     Fax: 415.824.4833
 5
     Attorney for Defendant
 6
     KUM PAE YI
 7
 8
                                       UNITED STATES DISTRICT COURT
 9
                                    NORTHERN DISTRICT OF CALIFORNIA
10
                                           SAN FRANCISCO DIVISION
11
     UNITED STATES OF AMERICA,                            ) No. CR-05-0395 CRB
12                                                        )
            Plaintiff,
                                                          ) [Proposed]
13
            v.                                            ) ORDER PERMITTING TRAVEL
14                                                        )
     KUM PAE YI,
                                                          )
15
            Defendant.                                    )
16
17          Pursuant to the ex parte application submitted by Defendant Kum Pae Yi, with the consent of the
18   supervising Pretrial Services Officer and the Assistant U.S. Attorney handling this matter, and good

19   cause appearing,

20          IT IS HEREBY ORDERED that Defendant Yi shall be permitted to travel to the following
     location(s) outside the Northern District on the following dates:
21
                    ¾ September 8-13, 2006: Los Angeles, CA
22
            IT IS FURTHER ORDERED that Defendant Yi is permitted to remain outside the Northern
23
     District of California during this time, she shall provide to Pretrial Services her itinerary and contact
24
     information, and she shall comply with any conditions imposed by the Pretrial Services Agency in
25
     connection with this travel.
26          IT IS SO ORDERED.
27
28   Dated: ______________________
             9/5/06                                        ______________________
29                                                         Nandor J. Vadas
                                                           United States Magistrate Judge
30
